       Case 3:15-cv-01863-AWT Document 8 Filed 03/12/16 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

JAMES CAMPBELL

       v.
                                                       CASE NO. 3:15 CV 1863 (AWT)

MIDLAND FUNDING LLC
MIDLAND CREDIT MANAGEMENT, INC.

                         NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Rule 41(a)(l), plaintiff hereby dismisses the within action without

costs or fees based on the parties’ settlement agreement.

                                              THE PLAINTIFF




                                              BY____/s/ Joanne S. Faulkner___
                                              JOANNE S. FAULKNER ct04137
                                              123 Avon Street
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       Certificate of Service

        I hereby certify that on March 12, 2016, a copy of foregoing Notice of Dismissal
was filed electronically. Notice of this filing will be sent by e-mail to all parties by
operation of the Court’s electronic filing system. Parties may access this filing through the
Court’s system.

                                                   ____/s/ Joanne S. Faulkner___
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